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Exhibit A
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Author's gure / ‘ . oN
#4 beat £°% .
“eto + €. oan i -
; ve foo pel
at ey L
Agreement
made this twelfth day of September 19 38 , by and between
JOHN STEINBECK et

whose address is care of McIntosh & Otis, Inc., 18 Hast 41st Street,
New York, N. Y.

the Author and/or Proprietor , party of the first part (hereinafter in either case called the “Author"’),
and THE VIKING PRESS, INC., of 18 East 48th Street, New York, N. Y., party of the second part
(hereinafter called the “Publishers'’), respecting a work of “fiction

at present ‘entitled “ THE LONG VALLEY "
consisting of short stories ‘ ,

' (hereinafter called “Said Work’), whereby it is rautually agreed between the Author and the Publishers

as follows:
PART ONE
poo. «Delivery of 1. The Author agrees to deliver the finished work to the Publishers by (already received)
Soa Mamseriph and hereby grants and assigns to the Publishers the sole and exclusive right to publish said work in
Publication volume form in the English language in the United States of America and Canada,

sights granted (Ase pe ty PEL Ta)

and also grants to the Publishers such further rights 2s as are specified in Pacagraph 5 hereafter. The phrase
“in volume form" shall be defined as meaning publication of the work as a whole, or substantially com-

plete, as a unit or at one time.

Agreement to 2. The Publishers agree to publish said work in volume form at their own expense, in the style or

> publish styles and at the price or prices which they deem best suited to its sale, within: Six- -months-freesthé—--=—-

 

date of receipt of the finished manuscript, but they shall not be responsible for delays caused by strikes,

fires, or other circumstances beyond their control.

3. The Publishers shall take all steps which may be necessary to take out copyright in the name of
John Steinbeck and thereby secure their own rights and those of the Author

Copyright

under the United States Copyright Acts, and shall take out renewals whenever they fall due, if the copy- i
tight is in theic name; but if the copyright is in the name of the Author, he agrees to take out such

renewals,

 

a 4, The Publishers agree to pay the Author as follows: ‘ re
no Payment:

(2) A royalty of 174 per cent of the amount which the Publishers charge for all copies

regular
Sales sold of said work, less copies returned, with no deduction for cash discounts or bad debts,
up to and including %,000 copies; 20 per cent on all copiss
sold over 3,000 and up to 5 10005 25 per cent on all copies
i sold thereafter,
with the following exceptions: . Se
| export and (4) ‘On all copies sold for export at a reduced price, and on all copies sold in quantities to justify
special sales -  aspecial discount of 60 per cent or more from the catalog retail price, such as sales to Canada,
| or sales ia bulk to recognized Book Clubs or Reading Circles, a royalty of 10 per
book club cent of the amount which the Publishers charge, as qualified above; but if said work is sold
en sales to a recognized Book Club which pays an outright sum for a license to publish said work
ee : for distribution to its members or subscribers, the Author shall ceceive 50 per cent of the
\ arnount received by the Publishers;
text-book (¢) On copies of any text-book edition at a retail price lower than that of the regular trade edi-
sales

tion, issued for sales in bulk to educational institutions, a royalty of 10 per cent of the amount
which the Publishers charge, as qualified above;

 
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seme ag _ ;

 
 
  

  
  
 
     

 

overstock - (2) On copies of overstock which the Publishers, after one year from the first publication of the
~~ said work, deem it expedient to sell at “cemainder” prices, ie. at less than one-half the

catalog retail price, a royalty of 10 per cent of the amount which the Publishers charge, except

that when such copies are sold at or below cost, no royalty shall be paid;

 

 

    
  
  

    

cheap or (¢) On all copies sold of any cheap edition which they publish, after one year fiomthe first
ee edition publication of said work, at a price substantially less than the original retail price, a royalty
Ales ok . a of 10 per cent of the amount which the Publishers charge, as qualified above; but if the
oo. fa Publishers shall arrange for the publication of such cheap or reprint edition by another pub-
/ 4f i : 4 lisher, the Author shall receive 50 per cent of the amount received by the Publishers;
(of WEY
English
edition
(f}) The Publishers shall pay as an advance against all earnings un-
der this contract the sum of Two Hundred and Fifty Dollars ($250.08) +
on delivery of the manuscript and the further sum of Two Hundred :
=~ a and Fifty Dollars ($250.00) on publication date; or the accrued \
ee Po wt royalties to publication date (less a reasonable allowance for 4
to me ( pais copies that may be returned), whichever sum may be the higher. ;
Additionat 5. The additional rights which the Author grahts exclusively to the Publishers in Paragraph 1 above,
rights: and the division of any and all sums accruing from the sale of these rights, are as follows:
anthologies, me oh (4) Reprinting in whole or in pact in newspapers, magazines, anthologies and other volumes,
7}
second ote ng OWAAecond serialization, syndication, radio-broadcasting, and mechanical reproduction, 50 per
a , ett. A re £ cent to the Author and 50 per cent to the Publishers;
translation 40 ep a
first serial agent” oOodiiminatsiaiaetioncoooooceRaRset tic CHAT URERD BC ATE ROCKO KK ROL SCRE
motion picture (d) Motion picture and for dramatic rights, 75 per cent to the Author and 25 per cent
and dramatic gt MFP to the Publishers.
peers Ede Batt oy
All rights not herein specifically granted to the Publishers are reserved by the Author.
Option on 6. The Author hereby grants to the Publishers the option to publish the Author's next four *
other work 4 book-length works of fichion of 40,000 words or morn the eeneep the present agree-

  
  
 
  
 
  
 
      

ment, If, howaver,.a work of fiction of less than 40,000 words shall be
published by itself in a volume, at a retail price of $2.00 or more, such
book shall be considered one of the books under this contract.

The publishers shall exercise this option within two months of receipt of the completed manuscript,
except that they shall not be required to exercise it until at least one month after the publication of
the next preceding book, and they shall publish the new book within one year of the date of its ace = =—-—
ceptance. If one of the option books should not be accepted, the Publishers’ option on subsequent

books shall become null and void.

PART TWO

1A. Default in delivery of manuscript by the date above stated may be deemed cause for the termination of
this agreement if the Publishers should so elect, and, in such case, they shall have the tight to recover from the
Author ‘any and al! amounts which they may have advanced to him; but should the Publishers consent to accept
the manuscript at‘a latec date, they shall not be required to publish within the limit of time above stated.

Author's failure
I to deliver MS,

2A. IE an index is required oc if drawings, photographs, tables, maps, charts or other illustrative matter
should be deemed necessary by both parties, the copy shall be prepared or supplied by the Author or, in his
default, by the Publishers at his expense. If the Author make alterations in the proof which cost more than 10
per cent of the cast of composition, exclusive of the cost of correcting printers’ errors, he agrees to pay such excess,

  
 
 

 

 
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* Auther’s guaran- 3A. The Author covenants and represents that he is the sole author and Proprietor of the said work, that he
° taped propre has full power to make this agreement and grant, that it in no way infringes upon the copyright or proprietary
yy tary rigbys, Lebel, cight of others, and that it contains no libelous or other unlawful matter, The Author agrees to indemnify and
« Oe Fe hold harmless the said Publishers from all manner of claims, demands, suits or proceedings which may be asserted
4 . or instituted on the ground that the said work violates any copyright of proprietary tight, or that it contains any-
thing libelous or unlawful; and further agrees to indemnify and hold the Publishers harmless from all charges,
liability, costs, expenses or damages of any kind or nature whatsoever arising to the Publishers, or which the
Defense of Publishérs may incur or sustain by reason of any of the foregoing. In case of any infringement of the copy-
copyright right the Publishers may in their diseretion sue or employ such remedies as they deem expedient, and all such
suits or proceedings shall be at the joint expense of Author aod Publishers, and the net proceeds of any recovery
shall be divided equally between them, but the Author shall not be liable for any expenditure in excess of $300.00

undertaken by the Publishers without his previous consent in writing.
Com petitive 4A, The Author egrecs that he will not, without the written permission of the Publishers, publish or permit
' material to be published in book or pamphlet form, while this agreement is in force, any material based on said work,

or of such a natute as to impede or reduce its sale.

{

5A. Hf the Author should actange for publication of said work elsewhere than in the United States (pro-
vided Paragraph 1 does not peeclude him from doing so), he agrees that it shall not precede publication in the
United States without the Publishers’ consent in writing; and that, if publication elsewhere has taken or will
take place with the Publishers’ consent, they shall not be responsible for securing American copyright if it should
be impracticable to obtain it without publishing sooner than agreed as above.

: Prior publication
, elsewhere

GA. If, at the time of publication of a cheap or reprint edition, the Publishers adjust the price of copies of

the regular edition remaining unsold io the hands of booksellers, the royalty on such copies shall be adjusted
to conform to the terms for the cheap edition 25 stated above,

Adjustment of
royalties fer
cheap edition

ae

No royalty

7A. On copies furnished gratis to the Author, or for reviesy, advertising, sample or like purposes, or on
on free copies ‘

copies destroyed by fire or water, no royalty shall be paid:

Ce ene

8A, The Publishers may publish, oc permit others to publish, without payment, such selections from said

i Selections for
work for publicity purposes as they may ‘consider appropriate to benefit its sale,

| publicity

9A. The Publishers shall give to the Author on publication 10 free copies of said work, and he shall -have

“ae, Axthar’s copies
the right to purchase copies for persona! use, but not for te-sale, at 60 per cent of the catalog retail price.

10A, The Publishers agree to render semi-anaual statements of account to April 30 and October 31 of each
yeac during August and February following, and to make settlement in cash at the same time. ‘Whenever the
semi-annual earnings fall below $10.00 no accounting or payment shall be made until the next settlement date
after the earnirigs have aggregated $10.00, unless requested in writing by the Author. Should the Author receive

Accountin ie

11A. If the Publishers should fail to pay moneys due or to deliver statements as agreed, within three months
from the date of written demand by the Author or his representatives, this agreement shall be cancelled and all
tights in said work granted herein shall revert to the Author forthwith, and without further notice, and without -
prejudice to moneys due to him from the Publishers, . os

Default b
the Publishers

Ss Termination of

ne 6 } hould the Publishers fail to keep said work in print and for sale and after written demand from the
this apreemen

12A, §
Author decline or aeglect to reprint within three months and to offer it for sale; or in case after two years from
the date of first publication they give three months’ notice to the Author of their desire and intention to discon:
tinue publication, - this agreement shall terminate and all rights granted hereunder shall tevert to the Author,

have the right to Purchase the plates, if any, of said work at one-half of the manufacturing cost (including com.
Position) and for any remaining copies or sheets at one-half of the manufactucing cost of same, exclusive of over-
head, in default of which the Publishers shall dispose of the same as they may see fit, without prejudice to moneys
due to the Author.
18A. This agreement supersedes all previous agreements made between
The Viking Press, Inc. and John Steinbeck, The terms herein set forth
shall also apply, as from August 12, 1938, to all the previously published
books of John Steinbeck, to wit: CUP or GOLD, THE PASTURES OF HEAVEN,
70 A GOM UNKNOWN, TORTILLA FLAT, IN DUBIOUS BATTLE, OF MICE AND MEN*(novel), °
OF MICE AND MEN (play). w San, Be the

ay
(seo attached rider for 144, 154 and 16A) BOL 78 boy teh,

This agreement shall be binding upon the heirs, executors, administrators or assigns of the Author,
and upon the successors or assigns of the Publishers, but no assignment shall be binding on either of the
pacties without the written consent of the other party to this agreement.

Assignment of
this agreament

  
 

 

( nom
|
i IN WITNESS WHERKOF the Parties hereto have hereunto set their hands and seals the day and
year first above written.
IN THE PRESENCE OF:
Cc Z
~ Witness ~ Author and for Proprietor

THE VIKING PRESS,

 
  

Nan, Stee ceen B
Witness
f 47
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14a. If at any time the Publishers! Shere of the motion picture

of - and/or dramatic rights received under this agreement shall amount to

a the sum of $15,000, Plus interest thereon at six per cent from August ie,
1938, until the date of the sum being fi earned out, thereafter the

Publishers shall cease to have any share in such motion pidure and/or
dramatic rights,

eo teeetoe

15a. In case of bankruptcy. receivership apsignment for the benefit
of creditor

“Ors, Teorganization under ?7B or ligaidation for eny cause rhat-
b

ever of the Publishers » all rights granted herein shall revert ‘to “the
Author,

and decleres that the receipt of the said McIntosh & Otis, ?
18 East 41st Street, New York City, shall be a g00d and valid discharge 2

in respect thereof, and the seid McIntosh & Otis:

ff . act in the Author's behalf in all connections ar
TT ment,

 

 

 
de atensaee Fl Sa. Hee baer ,

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Exhibit B
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Penguin USA

 

 

VPI

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AGREEMENT made this 24th day of October 1994, by and between:

Elaine Steinbeck

c/o McIntosh & Otis Inc. (Attention: Eugene Winick)
310 Madison Avenue

New York, New York 10017

the Author and/or Proprietor, party of the-first part (the “Author"), and
VIKING PENGUIN, A DIVISION OF PENGUIN BOOKS USA INC, 375
Hudson Street, New, York, New York 10014, party of the second part (the
“Publisher"), respecting:

nineteen books by John Steinbeck:

Work #1
Work #2
Work #3
Work #4
Work #5
Work #6
Work #7
Work #8
Work #9
Were #10
Work #11
Work #12

Work #13
Work #14

Work #15
Work #16
Work #17
Work #18

Work #19

‘CUP OF GOLD

THE PASTURES OF HEAVEN

TO A GOD UNKNOWN

THE RED PONY

TORTILLA FLAT

IN DUBIOUS BATTLE

OF MICE AND MEN

THE LONG VALLEY

THE GRAPES OF WRATH

THE FORGOTTEN VILLAGE

OF MICE AND MEN - (play) _

THE GRAPES OF WRATH JOURNAL - WORKING DAYS

VIVA ZAPATA

VIVA ZAPATA - THE LITTLE TIGER (to be published under
8/1/91 rider)

THE JOURNAL OF A NOVEL

THE SEA OF CORTEZ (with Edward F, Ricketts)

STEINBECK: A LIFE IN LETTERS (Elaine Steinbeck
with Robert Wallstein) *

THE SHORT NOVELS OF JOHN STEINBECK (to the extent of
TORTILLA FLAT, THE RED PONY, OF MICE AND MEN) ~

THE PORTABLE STEINBECK (to the extent of THE LONG VALLEY,
THE PASTURES OF HEAVEN, TORTILLA FLAT, IN DUBIOUS
BATTLE, OF MICE AND MEN, THE RED PONY, THE LONG
VALLEY, SEA OF CORTEZ)

(cach book being separately referred to as the “Work"), whereas Publisher has
published the above listed books under existing contracts and whereas for an
additional consideration the parties have agreed to enter into a new agreement
for continued publication of the above listed books, it is mutually agreed
between the Author-and the Publisher with respect to each Work as follows:

McIntosh & Otis Inc.

7/86 & 7/11 117830,000
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-ctract For Steinbeck titles . ‘age 2

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‘4 dblication
Rights

Delivery of
Manuscript

Permissions,
4-learances

Proof.
Corrections

Agreement to
Publish

Copyright

Advance

VPI - II

PART ONE

1. The Author hereby grants and assigns to the Publisher for the remaining
term of copyright, and such renewals or extensions thereof as may now or
hereafter exist, the sole and exclusive right to publish the Work in volume form
in the English language throughout the United States. its territories and
dependencies, the Philippines and Canada: such rights shall be non-exclusive in
the rest of the world outside the British Commonwealth of Nations (excluding
Canada),

The Author also grants to the Publisher such further rights as are specified
hereinafter, The phrase "in volume form" shall be defined as meaning publication
of the Work as a whole, or substantially complete, as a unit or at one time.

2, DELETED
3. DELETED
4. DELETED’
5. DELETED

6. The Publisher shall carry the original copyright registration and the
copyright renewal notices in each edition of the Work.

The Author, or the Publisher on the Author’s behalf and at its option, shall
apply for renewals (if applicable to the Work) whenever they fall due. Both”
parties agree to execute, at any time, all such papers and documents as may be
advisable, in the Publisher’s opinion, in order to protect, assign, record,
renew, or otherwise effectuate the rights herein, whether granted to the
Publisher or reserved by the Author.

7. The Publisher shall pay to the Author, as a guaranteed advance against
and on account of all moneys accruing to him under this agreement, yearly
payments in the following amounts, such payments to be made in two equal
installments on or before April 30 and October 31 of each year. The first
payment will be made in October, 1994 or on signing of this agreement, whichever
is later.

Year number | $435,500.
Year number 2 $435,500.
Year number 3 $385,250.
Year number 4 $385,250.

Melntosh & Otis Inc. 7/88 & 7/11 117830.000
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“Zonteget For Steinbeck titles - tage 3

Royalties:

Regular Sales

Year number 5 $385,250.
Year number 6 $335,000.
Year number 7 and thereafter* $335,000,

*Beginning in the seventh year and each year thereafter, it is understood and
agreed that the $335,000. payment will be adjusted annually by the Publisher
based on an increase in the National Consumer Price Index (the US city average
for all urban consumers) or its successor equivalent, with a cap of 10 percent
on any such annual adjustment.

The guaranteed advance shall also be adjusted annually so that if, in any year,
the earnings payable to the Author exceed the guaranteed advance for that year
("excess earnings"), the amount of the guaranteed advance for the following year
only shall be restated by adding a sum equal to the excess carnings from the
preceding year to the guaranteed advance. The annual guaranteed advance shall
not be adjusted downward for any shortfall by operation of this paragraph.

The above payments taken together with payments due Author under separate
agreements with Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 for
other Steinbeck works provide for a guaranteed advance payment of $650,000.

in years | and 2, $575,000. for years 3, 4 & 5, and $500,000. in year 6

and thereafter.

If at any time the Publisher determines that payment of the annual guarantee is
not economically feasible for Publisher to continue, the Publisher and Author
agree to negotiate in good faith as to a reduced annual guarantee. If no
agreement can be reached this agreement will terminate upon Publisher’s written
notice to the Author subject to Publisher’s right to sell off existing inventory
of the Work for a period of 18 months from the date of such termination.

8. Except as set forth in Clause 20, the Publisher agrees to pay the
Author a royalty on the invoiced retail price of every copy sold by the
Publisher, less copies returned (except as set forth below):

HARDCOVER EDITION

15 percent

TRADE PAPERBOUND EDITION

II

10 percent for the following titles -

THE GRAPES OF WRATH

OF MICE AND MEN
(whether sold separately or in 2-in-1 volume
with CANNERY ROW; although CANNERY ROW is covered
by a separate agreement, a single royalty shall apply to
the invoiced retail price of the 2-in-1 volume)

THE RED PONY
(whether sold separately or in 2-in-1
volume with THE PEARL; although THE PEARL is
covered by a separate agreement, a single
royalty shall apply to the invoiced retail price of
the 2-in-] volume)

McIntosh & Otis Inc, 7/86 & 7/11 117830.000
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Contract For Steinbeck titles . age 4

8 percent for the following titles -
- TO A GOD UNKNOWN
7 TORTILLA FLAT

IN DUBIOUS BATTLE

THE LONG VALLEY

7 percent for the following titles -

CUP OF GOLD

THE PASTURES OF HEAVEN

THE FORGOTTEN VILLAGE

OF MICE AND MEN (play)

THE GRAPES OF WRATH JOURNAL - WORKING DAYS
VIVA ZAPATA

VIVA ZAPATA - THE LITTLE TIGER

THE JOURNAL OF A NOVEL

THE SEA OF CORTEZ

STEINBECK: A LIFE IN LETTERS _

THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK

MASS MARKET PAPERBOUND EDITION

15 percent for the following titles -
THE GRAPES OF WRATH
OF MICE & MEN
(whether sold separately or in 2-in-1
volume with CANNERY ROW; although CANNERY ROW is covered
a separate agreement, a single royalty shall apply to the
invoiced retail price of the 2-in-1] volume)
THE RED PONY
(whether sold separately or in 2-in-1
volume with THE PEARL; although THE PEARL is covered
by a separate agreement, a single royalty shall ,
apply to the invoiced retail price of the 2-in-1 volume)

10 percent for the following titles -
TO A GOD UNKNOWN
TORTILLA FLAT

IN DUBIOUS BATTLE

THE LONG VALLEY

8 percent for the following titles -

CUP OF GOLD

THE PASTURES OF HEAVEN

THE FORGOTTEN VILLAGE

OF MICE AND MEN (play)

THE GRAPES OF WRATH JOURNAL - WORKING DAYS
VIVA ZAPATA

VIVA ZAPATA - THE LITTLE TIGER

THE JOURNAL OF A NOVEL

THE SEA OF CORTEZ

STEINBECK: A LIFE IN LETTERS

THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE JOHN STEINBECK.

Copies covered by any of the following subdivisions of this Clause 8 shail not
be included in such computation.

VPI - I Melntosh & Otis Inc. 7/86 & 7/11 117880.000
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Contact For Steinbeck titles Page 5

‘Sales of Sheets

_ (a) On sales of sheets to prebinders: a royalty of ten percent of the net
amount that the Publisher receives;

Mail order '
Premium
(b) On copies sold. direct to the consumer through the medium of mail-order
coupon advertising or direct-by-mail circularization and on premium
sales: a royalty of five percent (5%) of the net amount that the
Publisher receives;
Export/Canadian
Sales .
(c) On copies sold in Canada, or for export, whether in bound copies or in
sheets, a royalty of ten percent (10%) of the net amount Publisher
. receives. _
Sales at

High Discounts j

(d) On copies sold at discounts of more than fifty percent (50%) of
the invoiced retail price for hardcover and trade Paperback editions
and'at discounts of more than sixty percent (60%) of the invoiced
retail price for mass market paperback editions, a royalty of ten
percent (10%) of the net amount that the Publisher receives:

Notwithstanding the foregoing, should the Publisher’s retail and whole-
sale trade discount policies ever exceed fifty percent (50%) of the
invoiced retail price for hardcover and trade paperback editions and
sixty percent (60%) of the invoiced retail Price for mass market
paperback editions, the full regular royalty rate would apply on all
domestic sales governed by such policies.

Cheap Hardcover

Edition

(e) On copies sold of any cheap hardcover edition which Publisher publishes
at a price not more than two-thirds of the suggested retail price, a
royalty of ten percent of the net amount Publisher. receives, If the
Work is published in a single combined ("omnibus") edition with other
works by the Author, Publisher shall pay Author a pro-rata share of the -
applicable royalties as set forth in this paragraph based on the
proportion the Work comprises of such omnibus edition.

Sales from Later

Small Editions :

(f) On copies sold from a reprinting of three thousand (3,000) or fewer
hardcover copies or trade paperback copies or five thousand (5,000) or
fewer mass market paperbound copies made two years or more after first
publication of the Work, it being understood that such reprintings will
not be made more than once a year: one-half of the prevailing royalty
rate then in effect; this reduced royalty is provided because of the
increased cost of manufacture of small reprintings, to enable the
Author and the Publisher to keep the Work in print and in circulation
as long as possible; and may be terminated upon six (6) months notice

{ from Author.

VPI - TE  MelIntosh & Otis Inc. 7/86 & 7/11  — 127880,000
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" Contract For Steinbeck titles age 6

‘Nonroyalty

Author's Copies

Audio-Visual

Subsidiary
Rights

VPI “

Y

(g) On copies furnished gratis to the Author, or for review, advertising,
sample, or like purposes, or on copies destroyed by fire or water or
other means, or on copies sold at or below cost, no royalty shal! be
paid.

9. The Author shall have the right to purchase copies for personal use,
but not for resale, at forty percent (40%) discount. Such purchases shall be
paid for within thirty (30) days of the date of the Publisher's invoice.

Should the Publisher decide to remainder the balance of its inventory of the
Work, it shall first offer copies to the Author at the manufacturing cost of the
last printing, and the Author shall have two weeks to respond to this offer.

10..The Publisher shall have the right in the English language (to be
exclusive or nonexclusive as specified in the grant of territory in Clause 1),
to produce, manufacture, sell, distribute, exhibit, and transmit derivative
versions of the Work in any audio form provided it is a single voice, non-
dramatic reading of the text and/or visual form provided it is a non-dramatic,
non-illustrative, non-animated display of the text only, including, without
limitation, film strips, phonograph records, tapes, telecartridges, computer
software, and other information and storage retrieval systems:

a royalty to be mutually agreed in good faith between Publisher and Author |
referencing to standard industry rates;

EXCEPT with respect to the audio versions of, OF MICE AND MEN,
the royalty with respect to each such audio version shall be 8 percent of
Publisher’s net receipts for the first 10,000 units sold and 10 percent of
Publisher’s net receipts for all copies sold in excess of 10,000 units.

Publisher acknowledges that specifically excluded from the audiorecording rights
granted herein is the right to distribute the audiorecordings in the mail-order
rental market, such rights having already been granted by Author to Books on
Tape, but shall not be otherwise restricted except that both the Publisher and
Books on Tape shall have the nonexclusive rights to distribute the audio
recordings in the library and specialty rental markets.

Publisher’s exercise of these rights will in no way conflict with Author’s °°
exercise of television/motion picture rights.

Elaine Steinbeck shall have prior approval of the script and the artwork and
packaging of any audio visual versions of the Work,

il. The Publisher shall also have the following rights in the English
language (to be exclusive or nonexclusive as specified in the territorial grant
in Clause 1), with respect to which the Publisher alone may make arrangements
with third parties on the Publisher’s own behalf, or on behalf of the Author
when necessary, and the division of the Publisher’s net receipts from the sale
or other disposition of these rights shall be as follows:

McIntosh & Otis Inc. 7/86 & 7/11 117830.000
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Reprint

Book Club

First Serial

Second Serial,
Anthology, ete.

Audio-Visual

VPI - I McIntosh

(a)

(b)

Paperbound* hardcover, or large-type reprint publication: fifty percent
(50%) of said receipts to the Author and fifty percent (50%) to the
Publisher;

* Paperbound licenses to a third party shall be subject to the approval
of the Author, or his agent acting on Author’s behalf, such approval
not to be unreasonably withheld, except (i) withholding of approval
cannot be used to veto one Penguin USA Paperback imprint from acquiring
rights in a competitive situation where such imprint is acting as a
third party and (b) in the event there is a proposed licensing to a
third party which is disapproved by the Author, or his agent acting on
Author's behalf, thereby putting the Work out of print and rights
subsequently revert to the Author pursuant to the provisions of Clause
8A, the Author and/or his agent cannot license paperback rights to that
party: within twelve months of Author's, or his agent acting on Author’s
behalf, disapproval of Publisher’s proposed license.

Book-club publication: fifty percent (50%) of said receipts to the
Author and fifty percent (50%) to the Publisher;

(c) DELETED

(d)

(e)

Periodical publication, including without limitation magazine, news-
paper,'and digest after book publication, reprinting in whole or in
part or excerpts or digests (but not abridgments which are Prohibited)
in anthologies or other volumes, pamphlets, etc. and public readings:
fifty pércent (50%) of said receipts to the Author and fifty percent
(50%) to the Publisher; 8

Reproduction of the text or any adaptation of the work, or any
derivative versions thereof, in any audio form provided it is a single
voice, non-dramatic reading of the text and/or visual form provided -it
is a non-dramatic, non-illustrative, non-animated display of the text
only (other than by motion Picture, radio or television, or in storage
and retrieval systems), including without limitation film strips, pho-
nograph records, telecartridges and tapes: seventy five percent (75%) f
of said receipts to the Author and twenty five percent (25%) to the
Publisher; No performance rights are granted in connection with such
rights.

Publisher acknowledges that specifically excluded from the
audiorecording rights granted herein is the tight to distribute the
audiorecordings in the mail-order rental market, such rights having
already been granted by Author to Books on Tape, but shall not be

& Otis Inc. 7/86 & 7/11  127830.000

 
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" Contract For Steinbeck titles -

Radio and
Television

Motion Picture
and Dramatic

Data Storage
and Retrieval

Commercial Use

~

_ by the
Handicapped

Editions in
English Abroad

Translation

VPI - II MelIntosh

(f)

(g)

(h)

@)

(i)

& Otis Inc.

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Otherwise restricted except that both the Publisher and Books on Tape
shall have the nonexclusive right to distribute the audio recordings in
the. library and speciality rental markets.

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any audio visual version of the Work.

i

DELETED

DELETED

In the event of the disposition ‘of performance rights, the Publisher
agrees to grant to the purchaser the privilege to publish excerpts and
summaries of the Work or of any motion picture, dramatic, or television
version of the Work, in the aggregate not to exceed ten percent (10%)
of the text (but not more than 7,500 words), for advertising and ex-
ploiting such rights, provided that all steps necessary to protect the
copyright of the Work are taken and that the Publisher is credited as
the publisher of the Work.

Use of the text only in non-dramatic, non-illustrative, non-animated
display through computer software and in other information storage and
retrieval systems, whether through computer, mechanical, or other elec-
tronic means now known or hereafter invented and ephemeral screen-
flashing or reproduction thereof, whether by printout, photo-reproduc-
tion or photocopy, including without limitation punch cards, microfilm,
magnetic tapes, or like processes attaining similar results: seventy
five percent (75%) of receipts to the Author and twenty five percent
(25%) to the Publisher;

Elaine Steinbeck ghall have prior approval of the script and artwork

and packaging of any versions of the Work for data storage and
ieval me

DELETED

Publication or transcription of the Work in whole or in part without
charge in braille, tapes, or other forms for use by the physically
handicapped: none.

DELETED

. DELETED

7/86 & T/L 117830.000
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Contract For Steinbeck titles . Page 9

‘Rights Reserved
by Author

Publicity
Space

Advertising

Accounting and
Payment

wen

Option on Other
Work

VPI - il

14, All rights not specifically granted to the Publisher under this agree-
ment are reserved by the Author,

15. DELETED.

16. Commercial advertisements (other than a list of other works published
by the Publisher or its licensees) may not be inserted or printed in any edition
of the Work without the Author's prior written consent.

17, The Publisher agrees to render semiannual statements of accounts on a
work-by-work basis on the hardcover edition to April 30 and October 31 of each
year, on or before August 31 and February 28 following, and statements of
account on the paperbound edition published by the Publisher shall be rendered
to June 30 and December 3! of each year, on or before October 31 and April 30
following, and the Publisher agrees to accompany such statements with checks in
payment of the amounts due thereon. In making accountings, Publisher shall- have
the right to allow for a reasonable reserve against returns to be defined as a
reserve sufficient in light of the actual return percentage in the sale of the
Work and to be adjusted accordingly in each accounting period. After two years
following the publication date regular royalty statements and payments need not
be issued by the Publisher until accumulated earnings from all sources, due and
payable, exceed $10.00, unless requested in writing by the Author. Should the
Author receive an overpayment, the Author agrees that the Publisher may deduct
such amount from any further earnings of the Work, it being understood that an
unearned advance is not an “overpayment.”

Works #1 - #19 will be jointly accounted and no sums, other than the yearly
guarantees due pursuant to Clause 7, will be paid to the Author until the total
amount (cumulative from the first payment) paid in guarantees to the Author has
been earned from all sums accruing to the Author hereunder on Works #1 - #19 at
the end of gach royalty period.

'

The Author may, upon written request, examine or cause to be examined through
certified public ‘accountants the Publisher’s books of account insofar as they
relate to the sale or licensing of the Work, provided such examinations aré
limited to one per year and take place during regular business hours. Such
examination shall be at the Author’s expense, unless errors of accounting
amounting to more than five percent (5%) of the total sums accrued to the Author
shall be found to the Author’s disadvantage, in which case the reasonable cost
of the examination shall be borne by the Publisher, and payment of the amount
due shall be made within thirty (30) days thereafter.

18. DELETED

McIntosh & Otis Inc, 7/86 & T/ll 117830.000
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‘Termination of
Previous Agreements
19, This agreement, when signed by Author and Publisher, will cancel and
supercede the previous agreements, as ‘amended, for the Works #1 - #19 covered
hereunder. ,

20. Inasmuch as this Agreement does not include all the contents of Work
#18 and Work #19, fifty percent of the royalty specified for Work #18 THE SHORT

NOVELS OF JOHN STEINBECK, and seventy five percent of the royalty specified for
Work #19, THE PORTABLE STEINBECK, will be due the Author hereunder.

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VPI - NY McIntosh & Otis Inc. 7/86 & T/L 117830.000
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~* thor’s
cuarantee

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PART TWO

1A, The Author represents and warrants that John Steinbeck is the sole
author of the Work; that the Author is the sole owner of all rights granted
hereunder; that the Author has not sold, licensed, assigned, or otherwise
encumbered, and will not sell, license, assign, or otherwise encumber, any of
such rights; that the Author has full power to enter into and to perform this
agreement; that, except for any material expressly permitted or cleared pursuant
to Clause 3 of Part One, the Work is original, and is not in-the public domain;
that the Work in no way violates any copyright or: proprietary or contract or
personal right of others, and that it contains nothing unlawful, libelous, or
obscene. In the event of any claim, action, or proceeding based upon an alleged
violation of any of these warranties, (a) the Publisher shall have the right to
defend the same through counsel of its own choosing; (b) the Author shall hold
harmless the Publisher, any seller of the Work, any licensee of a subsidiary
right in the Work, and any other person to whom the Publisher or its licensees
may extend the representations and warranties contained herein in connection
with the production or distribution of the Work or the exercise of any rights
therein or derived therefrom, against any damages and expenses (including rea-
sonable legal fees and expenses) arising from the breach oc alleged breach of
any of the foregoing warranties. If any such claim, action, or proceeding is
instituted, the Publisher shall promptly notify the Author, who shall fully
cooperate in the defense thereof, and the Publisher may withhold payments of
reasonable amounts due the Author under this agreement between the parties.
These warranties and indemnities shall survive the termination of this
agreement.

Publisher agrees to designate Author as to the Work as an additional insured in
any Errors and Omissions insurance policy which Publisher may purchase at its
expense covering its book publishing activity and shall, except as limited
hereinbelow, look solely to the proceeds of such insurance coverage for payment
of any sums that may become due from Author by reason of the indemnification
undertaken by the Author hereinabove regarding risks which are covered by
Publisher’s Errors and Omissions insurance policy except if the Author’s breach
of warranties set forth hereinabove is done wilfully. Author’s obligation to
indemnify Publisher shall be limited to thirty-seven thousand, five hundred
dollars ($37,500) which sum is less than one-half (1/2) of the one hundred
thousand dollar ($100,000) deductible presently in effect on the Errors and’
Omissions insurance policy. Notwithstanding the foregoing, Author acknowledges
that the limits of liability may effectively be decreased or exhausted as a
result of occurrences during a year related to other works and other additional
insureds and that Author’s liability to Publisher in excess of such coverage is -
not affected hereby. In consideration for the foregoing, Author agrees that they
will fully cooperate with Publisher in the defense of any such claims, the -
Publisher and/or its insurer shall have the right to select counsel, and that
Publisher shall have the right to settle any claim upon the terms and conditions
it and/or its insurer deems satisfactory.

McIntosh & Otis Inc. 7/86 & T/L 117830,000
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* Defense of
Copyright

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Competitive
Material

Prior
Publication

Default by the
Publisher

Author’s
Property

Revised Edition

_Lermination of
_S§ Agreement

VPI - u

2A. In case of any infringement of the copyright of the Work by others, the
Publisher may in its discretion sue or employ such remedies as it deems expe-
dient, and all such suits or proceedings shall be at the joint expense of Author
and Publisher, and the net proceeds of any recovery shall be divided equally
between them, but the Author shall not be. liable for any expenditure for such
purposes in excess of one thousand dollars ($1,000.00) undertaken by the Pub-
lisher without the Author's previous consent in writing. If the Author does not
consent to all expenditures for such Purposes, any recovery shall be divided
between the Publisher and the Author in the ratio of their respective expendi-
tures for such purposes.

3A. DELETED

4A. DELETED

5A. If the Publisher should fail to pay undisputed monies due or to deliver
Statements as agreed (unless such failure is due to a good-faith dispute between
the Author and the Publisher) within 60 days from the date of written demand by
the Author or his/her representatives, this agreement shall be canceled and all
rights in the Work granted herein shall revert to the Author forthwith and
without further notice, and without prejudice to monies due to the Author from
the Publisher.

6A. DELETED

7A. DELETED

8A. Should the Publisher fail to keep in print any one of Works #1 through
#19 or any of the other Steinbeck works which are the subject of a separate
agreement with Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 and
after written demand from the Author decline or neglect to bring such Work back
into print within one year, the Publisher's rights shall terminate hereunder as
well as terminate for the other Steinbeck works which are the subject of a
separate agreement with Elaine Steinbeck and Thomas Steinbeck dated October 24,
1994, provided that all obligations of the Author to the Publisher have been
met. Upon the effective date of termination, the Publisher shall have the Tight
to dispose of any copies remaining on hand of the in print Works and any copies
in process of the Works covered hereunder as well as any other in print or in
process Steinbeck works which are the subject of a separate agreement with
Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994 subject to the

McIntosh & Otis Inc. 7/86 & 7/11 117880,000
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payment of royalties as Provided hereunder and as Provided in the agreement with
Elaine Steinbeck and Thomas Steinbeck dated October 24, 1994, It is understood
that any Work shall be considered to be in print if any hardcover or softcover
Publication rights granted hereunder are being exercised or are under contract
to be exercised.

If, any time after first publication, the Publisher wishes to discontinue
publication for any reason of any Work which is the subject of this agreement or
a scparate agreement with Elaine Steinbeck and Thomas Steinbeck dated October
24, 1994, the Publisher may do so upon written notice to the Author, in which
event this agreement and the other agreements for the Steinbeck works dated
October 24, 1994 with Elaine Steinbeck and Thomas Steinbeck shall terminate and
all rights granted hereunder shall revert to the Author upon the termination
date set forth in such notice from the Publisher. If such termination occurs,
the provisions of the immediately following paragraph of this Clause 8A shall
apply.

For thirty (30) days after the date of such termination, the Author Shall have
the right, but not the obligation, to acquire from the Publisher (a) any print-
er’s materials under the control of the Publisher, at the fair market value

such right within such thirty (30) days, the Publisher may dispose of any such
materials or inventory without any further obligation to the Author,

Termination
Under U.S. Law
9A. If Elaine Steinbeck exercises her right to terminate grants made to
Publisher in this worcement (in accordance with Section 304(e) of Title 17 of
the US. code) and if the Terminating party(ies) fail(s) to enter into a:
agreement with Publisher for Publisher to continue to publish the terminated

work(s), then Publisher may take the following actions:

   

Notice of Termination is received by Publisher ("Excess Guaranteed Payments")
shall be calculated on a work-by-work basis (pro-rated in Proportion to the
royalties generated by each work during the period). The amount of the Excess
Guaranteed Payment attributable to the terminated work (even if recelon gy

i ven if received by
‘minating party) shall be, at Publish

      

   

— during the period between notice of termination and recapture and/or on account
of the terminating party(ies)’s pro-rata interest in any non-terminated works
that are the subject of this agreement.

2. In addition to the right to recapture the excess over carnings on Guaranteed
Advances as provided above, in_the event the terminating party(ies) wish to
transfer the recaptured rights to a third Party, they shall first offer them to
Publisher in thi following manner: eee

Gi) iI¢€ terminating Party(ies) decide(s) to accept a bona fide offer with
respect to all or part of the terminated work(s) then in each such instance
terminating party(ies) shall, promptly after deciding to accept such offer, give
Publisher written notice Specifying such terms and conditions which terminating
Party(ies) is(are) prepared to accept and the name(s) of the third party who
made the offer to terminating Party(ies), At any time within fifteen (15) days

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after receipt of such written notice from terminating party(ies), Publisher may
notify terminating party(ies) in writing of its acceptance of such offer and, in

oo such event, the rights referred to in such offer shall be assigned to Publisher,
subject to Publisher’s compliance with the terms of the offer so accepted. If
Publisher shall ,acquire from terminating party(ies) all or part of the
terminated work(s), then both parties agree to enter into a written agreement
with respect thereto.

(ii) If Publisher shall elect not to purchase the terminated work(s), the
terminating party(ies) may dispose of said terminated work(s) but only to the
offerer and upon the terms.and conditions specified in such notice, it being
understood and agreed that terminating party({ies) may not dispose of such rights
to any other party or upon terms and conditions any different from those offered
to Publisher hereunder without again offering such terminated work(s) to
Publisher as herein provided.

Bankruptcy and

Liquidation .
10A. In the event that the Publisher shall be adjudicated a bankrupt, a
receiver or a trustee shall be appointed for all or substantially all of the
a Publisher’s property, and the order appointing the reteiver or trustee shall not

have been vacated within sixty (60) days from its entry, or if the Publisher
shall seek to take advantage of any so-called insolvency law, all rights hereby
granted to the Publisher shall forthwith revert to the Author, and this agree-
ment shall thereupon terminate.

Governing Law ; ,
11A. This agreement shall be interpreted under the laws of the State of New
York applicable to contracts entirely made and performed therein. Any dispute
between the Author and the Publisher relating to this agreement and/or the Work
if it cannot be settled by mutual agreement between the Author and the Pub-
lisher, shall be submitted solely to the Federal or State courts sitting in New
York City, or courts with appellate jurisdiction therefrom, and the Author and . i
the Publisher both consent to the jurisdiction and venue. of such courts for such

purpose.
Complete :
Agreement
12A, This agreement constitutes the complete understanding of the parties, :
and no waivers or modifications of any provision shall be valid unless in :
writing, signed by the Author and the Publisher. The waiver of a breach or ofa
oe

default under any provision hereof shall not be deemed a waiver of any subse-
quent breach or default. The payment of any advances or royalties hereunder
shall not be deemed a waiver by the Publisher of any rights and/or claims that
it may have with respect to nonperformance by the Author of the Author’s obliga-
tions hereunder.

 

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" Assignment

Agency
Clause

VPI

13A. This agreement shall be binding upon the heirs, executors, or adminis-
trators of the Author, and upon the successors and assigns of the Publisher. The
Author shall not assign this agreement, or obligations hereunder, without the
prior written consent of the Publisher. The Publisher shall have the right on
notice to Author to assign this agreement, or its rights and obligations here-
under, only to a company acquiring all or substantially all of the Publisher's
assets. The Author shall have the right to assign any amounts due hereunder to
the extent such amounts become due after the Publisher has received written
notice from the Author of such assignment.

14A, All sums of money due under this agreement shall be paid to the
Author’s agent, McIntosh & Otis, Inc., 310 Madison Avenue, New York, New York
10017 and the receipt of the said McIntosh & Otis, Inc. shall be a good and
valid discharge of all such indebtedness; and the said McIntosh & Otis, Inc. is
hereby empowered by the Author to act in all matters arising from and pertaining
to this agreement.

The Author does hereby irrevocably assign and transfer to McIntosh & Otis, Inc.
and McIntosh & Otis, Inc. shall retain a sum equal to ten percent (10%) out of
all monies dut:and payable to and for the account of the Author under this
agreement.

IN WITNESS WHEREOF the parties hereto have hereunto set their hands and seals
the day and year first above written.

  

IN/THE PRESENCH¥ OF: ELAINE STEINBECK.

 

Witness

VIKING PENGUIN

Cun aX

Witness Barbara Grossmah
Senior Vieé President ,

enior Vice Presi en ALAN 5. KAUFMAN ,;

Po eisher, ViKINg genio Vice President & General Counse

 

 

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Exhibit C
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1

 

Penguin USA

 

 

AGREEMENT made this 24th day of October 1994, by and between:

Elaine Steinbeck and Thomas Steinbeck

c/o McIntosh & Otis Inc. (Attention: Eugene Winick)
310 Madison Avenue

New York, New York 10017

Jointly and severally referred to as the Author and/or Proprietor, party of the
first part (the Author"), and VIKING PENGUIN, A DIVISION OF PENGUIN BOOKS
USA INC., 375 Hudson Street, New York, New York 10014, party of the second part
(the "Publisher"), respecting:

eighteen books by John Steinbeck:
_ Work #1 THE MOON IS DOWN
wo Work #2 THE MOON IS DOWN (play)
Work #3 BOMBS AWAY
Work #4 CANNERY ROW
Work #5 THE PEARL
Work #6 THE WAYWARD BUS
Work #7 A RUSSIAN JOURNAL
Work #8 BURNING BRIGHT
Work #9 EAST OF EDEN
Work #10 SWEET THURSDAY
Work #11 THE SHORT REIGN OF PIPPIN IV
Work #12 ONCE THERE WAS A WAR
Work #13 THE WINTER OF OUR DISCONTENT
Work #14 TRAVELS WITH CHARLEY
Work #15 AMERICA AND AMERICANS
Work #16 LOG FROM THE SEA OF CORTEZ (with Edward F. Ricketts)
Work #17 THE SHORT NOVELS OF JOHN STEINBECK (to the extent-of
THE MOON IS DOWN, CANNERY ROW, THE PEARL)
Work #18 THE PORTABLE STEINBECK. (to the extent of “About Ed
Ricketts", CANNERY ROW, EAST OF EDEN, TRAVELS
_ WITH CHARLEY, IN SEARCH OF AMERICA, Two Urcollected
Stories, The Language of Awareness)

(each book being separately referred to as the "Work"), whereas Publisher has
published the above listed books under existing ‘contracts .and whereas for an
additional consideration the parties have agreed to enter into a new agreement
for continued publication of the above listed books, it is mutually agreed
between the Author and the Publisher with respect to each Work as follows:

VPI - If McIntosh & Otis Inc. 7/86 & 7/11 117840.000

 
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PART ONE

Pu stion
Rights
1, The Author hereby grants and assigns to the Publisher for the remaining

term of copyright, and such renewals or extensions thereof as may now or
hereafter exist, the sole and exclusive Tight to publish the Work in volume form
in the English language throughout the United States, its territories and
the rest of the world outside the British Commonwealth of Nations (excluding
Canada).

The Author also grants to the Publisher such further rights as are specified
hereinafter. The phrase "in volume form" shall be defined as Meaning publication
of the Work as a whole, or substantially complete, as a unit or at one time.

Delivery of

Manuscript
2. DELETED
Permissions,
Cle neces
ue 3. DELETED
Proof
Corrections
4, DELETED
Agreement ta
Publish
5. DELETED
Copyright
6. The Publisher shall carry the original copyright registration and the
copyright renewal notices in each edition of the Work.
The Author, or the Publisher on the Author’s behalf and at its option, shall
apply for renewals (if applicable to the Work) whenever they fall due. Both
parties agree to execute, at any time, all such papers and documents as may‘ be
advisable, in the Publisher’s opinion, in order to protect, assign, record,
“—. + . . .
: renew, or otherwise effectuate the rights herein, whether granted to the
. Publisher or reserved by the Author.
Advance

7. The Publisher shall pay to the Author, as a guaranteed advance against
and on account of all moneys accruing to him. under this agreement, yearly
payments in the following amounts, such payments to be made in two equal
installments on or before April 30 and October 31 of each year. The first
payment will be made in October, 1994 or on signing of this agreement, whichever
is later.

Year number | $214,500.
- Year number 2 $214,500.
‘ Year number 3 $189,750.

Year number 4 $189,750,

Year number 5 $189,750. _

VPI - bg McIntosh & Otis Inc. 7/86 & 7/11 117840.000

 
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Year number 6 $165,000.
~ Year number 7 and thereafter* $165,000,

*Beginning in the seventh year and each year thereafter, it is understood and
agreed that the $165,000. payment will be adjusted annually by the Publisher
based on an increase in the National Consumer Price Index (the US city average
for all urban consumers) or its successor equivalent, with a.cap of 10 percent
on any such annual adjustment.

The guaranteed advance shall also be adjusted annually so that if, in any year,
the earnings payable to the Author exceed the guaranteed advance for that year
("excess earnings"), the amount of the guaranteed advance for the following year
only shall be restated by adding a sum equal to the excess earnings from the
preceding year to the guaranteed advance. The annual guaranteed advance shall
not be adjusted downward for any shortfall by operation of this paragraph.

If at any time the Publisher determines that payment of the annual guarantee is
not economically feasible for Publisher to continue, the Publisher and Author
agree to negotiate in good faith as to a reducéd annual guarantee. If no
agreement can be reached this agreement will terminate upon Publisher’s written
notice to the Author subject to Publisher's right to sell off existing inventory
of the Work for a period of 18 months from the date of such termination.

All royalty payments due on account of copyright renewals signed by John
Steinbeck IV are included in and ‘shall be apportioned from this payment.

Royalties:
tegular Sales
8. Except as set forth in Clause 20, the Publisher agrees to pay the
Author a royalty on the invoiced retail price of every copy sold by the
Publisher, less copies returned (except as set forth below):

HARDCOVER EDITION

15 percent
TRADE PAPERBOUND EDITION

10 percent for the following titles -
CANNERY ROW
(whether sold separately on in 2-in-1
volume with OF MICE AND MEN: although OF MICE
AND MEN is covered by a separate agreement,
a single royalty shall apply to the
invoiced retail price of the 2-in-1 volume)
THE PEARL
(whether sold separately or in 2-in-1
volume with THE RED PONY; although THE RED PONY ‘is
covered by a separate agreement, a single
royalty shall apply to the invoiced retail
price of the 2-in-1 volume)
EAST OF EDEN

8 percent for the following titles -

a SWEET THURSDAY

: TRAVELS WITH CHARLEY
THE WINTER OF OUR DISCONTENT
THE MOON IS DOWN

VPI - II McIntosh & Otia Inc. 7/6 & 7/11 117840.000

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_ THE WAYWARD BUS
LOG FROM THE SEA OF CORTEZ

 

7 percent for the following titles -

BURNING BRIGHT

THE SHORT REIGN OF PIPPIN IV

ONCE THERE WAS A WAR

THE MOON IS DOWN (Play)

RUSSIAN JOURNAL

BOMBS AWAY

AMERICA AND AMERICANS

THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK

 

 

MASS MARKET PAPERBOUND EDITION

15 percent for the following titles ~~
CANNERY ‘ROW
(whether sold separately or in 2-in-1
volume with OF MICE AND MEN; although OF MICE
AND MEN is covered by a separate agreement, a
single royalty shall apply to the invoiced
retail price of the 2-in-1 volume)
THE PEARL
(whether sold separately or in 2-in-1
volume with THE RED PONY; although THE RED PONY
is covered by a separate agreement, a single
royalty shall apply to the invoiced retail price
of the 2-in-1 volume)
EAST OF EDEN

10 percent for the following titles -
SWEET THURSDAY

TRAVELS WITH CHARLEY

THE WINTER OF DISCONTENT
THE MOON IS DOWN

THE WAYWARD BUS

LOG FROM THE SEA OF CORTEZ

8 percent for the following titles -
BURNING BRIGHT
THE SHORT REIGN OF PIPPIN IV
we ONCE THERE WAS A WAR
THE MOON IS DOWN (Play)
RUSSIAN JOURNAL
BOMBS AWAY
AMERICA AND AMERICANS
THE SHORT NOVELS OF JOHN STEINBECK
THE PORTABLE STEINBECK

Copies covered by any of the following subdivisions of this Clause 8 shall not
be included in such computation.

Sales of Sheets
os

(a) On sales of sheets to prebinders: a royalty of ten percent of the net
amount that the Publisher reccives;

i.
VPI - 0 ‘McIntosh & Otis Inc. 7/86 & 7/1 117840.000

 
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Mail order
Premium
(b) On copies sold direct to the consumer through the medium of mail-order
coupon advertising or direct-by-mail circularization and on premium
sales; a royalty of five percent (5%) of the net amount that the
Publisher receives;
Ex port /Canadian
Sales
(c) On copies sold in Canada, or for export, whether in bound copies or in
sheets, a royalty of ten percent (10%) of the net amount Publisher
receives.
Sales at

High Discounts
(d) On copies sold at discounts of more than fifty percent (50%) of
the invoiced retail price for hardcover and trade paperback editions
and at discounts of more than sixty percent (60%) of the invoiced
retail price for mass market paperback editions, a royalty of ten
percent (10%) of the net amount that the Publisher receives;

Notwithstanding the foregoing, should the Publisher’s retail and whole-
sale ‘trade discount policies ever exceed fifty percent (50%) of the
invoiced retail price for hardcover and trade paperback editions and
sixty percent (60%) of the invoiced retail price for mass market

_ paperback editions, the full regular royalty rate would apply on all
domestic sales governed by such policies.

Cheap Hardcover
Sdition
(e) On copies sold of any cheap hardcover edition which Publisher publishes

at a price not more than two-thirds of the suggested retail price, a
Toyalty of ten percent of the net amount Publisher receives. If the
Work is published in a single combined ("omnibus") edition with other
works ,by the Author, Publisher shall pay Author a pro-rata share of the
applicable royalties as set forth in this paragraph based on the
proportion the Work comprises of such omnibus edition.

tales from Later

rmall Editions :

(f) On copies sold from. a reprinting of three thousand (3,000) or fewer
hardcover copies or trade paperback copies or five thousand (5,000) or
fewer mass market paperbound copies made two years or more after first
publication of the Work, it being understood that such reprintings will
not be made more than once a year: one-half of the prevailing royalty
rate then in effect; this reduced royalty is provided because of the
increased cost of manufacture of small reprintings, to enable the
Author and the Publisher to keep the Work in print and in circulation
as long as possible; and may be terminated upon six (6) months notice
from Author.

Yonroyalty
(g) On copies furnished gratis to the Author, or for review, advertising, |
sample, or like purposes, or on copies destroyed by fire or water or
other means, or on copies sold at or below cost, no royalty shall be

paid.

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Author’s Copies

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9. The Author shall have the right to purchase copies for personal use,
but not for resale, at forty percent (40%) discount. Such purchases shall be
paid for within thirty (30) days of the date of the Publisher’s invoice.

 

Should the Publisher decide to remainder the balance of its inventory of the
Work, it shall first offer copies to the Author at the manufacturing cost of the
last printing, and the Author shall have two weeks to respond to this offer.

Audio-Visual
10. The Publisher shall have the right in the English language (to be

exclusive or nonexclusive as specified in the grant of territory in Clause 1)
to produce, manufacture, sell, distribute, exhibit, and transmit derivative
versions of the Work in any audio form provided it is a single voice, non-
dramatic reading of the text and/or visual form provided it is a non-dramatic,
non-illustrative, non-animated display of the text only, including, without
limitation,. film strips, phonograph records, tapes, telecartridges, computer
software, and other information and storage retrieval systems:

a royalty to be mutually agreed in good faith between Publisher and Author
referencing to standard industry rates;

EXCEPT with respect to the audio versions of TRAVELS WITH
CHARLEY and THE PEARL the royalty with respect to each such audio version
shall be 8 percent of Publisher’s net receipts for the first 10,000 units sold
and 10 percent of Publisher’s net receipts for all copies sold in excess of
10,000 units,

Publisher acknowledges that specifically excluded from the audiorecording rights
granted herein is the right to distribute the audiorecordings in the mail-order
rental market, such rights having already been granted by Author to Books on
Tape and with respect to CANNERY ROW and SWEET THURSDAY to
Recorded Books, but shall not be otherwise restricted except that both the
Publisher and Books on Tape and Recorded Books shall have the nonexclusive right
to distribute the audio recordings in the library and specialty markets.

Publisher’s exercise of these rights will in no way conflict with Author’s
exercise of television/motion picture rights.

Elaine Steinbeck shall have prior approval of the script and the artwork and
packaging of any audio visual versions of the Work.

 

S: fiary
Rights
11. The Publisher shall also have the following rights in the English

language (to be exclusive or nonexclusive as specified in the territorial grant.
in Clause 1), with respect to which the Publisher alone may make arrangements
with third parties on the Publisher’s own behalf, or on. behalf of the Author
when necessary, and the division of the Publisher’s net receipts from the sale
or other disposition of these rights shall be as follows:

All subsidiary rights licenses, with the exception of excerpts or digests in

anthologies or other volumes pursuant to Clause LI (d), shall be subject to the

Author’s approval, such approval mot to be unreasonably withheld, Failure of
_ Author/Agent to reply with any objections within ten business days of
PubHsher’s inquiry shall be deemed ag Author approval, See II (a) with respect
to licensing of paperback rights.

 

 

 

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Reprint

_—s

Book Club

Fi” Serial

Second Serial,
Anthology, etc.

Audio-Visual

VPI - YW McIntosh

(a) Paperbound*® hardcover, or large-type reprint publication: fifty percent
(50%) of said receipts to the Author and fifty percent (50%) to the
Publisher;

* Paperbound licenses to a third party shall be subject to the approval
of the Author, or his agent acting on Author’s behalf, such approval
not to be unreasonably withheld, except (i) withholding of approval
cannot be used to veto one Penguin USA paperback imprint from acquiring
rights in a competitive situation where such imprint is acting as a
third party and (b) in the event there is a proposed licensing to a
third party which is disapproved by the Author, or his agent acting on
Author’s behalf, thereby putting the Work out of print and rights
subsequently revert to the Author pursuant to the Provisions of Clause
8A, the Author and/or his agent cannot license paperback rights to that
party within twelve months of Author’s, or his agent acting on Author's
behalf, disapproval of Publisher’s proposed license,

(b) Book-ciub publication: fifty percent (50%) of said receipts to the
Author and fifty percent (50%) to the Publisher;

(c) DELETED

(d) Periodical publication, including without limitation Magazine, news-
' paper, and digest after book publication, reprinting in whole or in
part or excerpts or digests (but not abridgemnts which are prohibited)
in anthologies or other volumes, pamphlets, etc., and public readings:
fifty percent (50%) of said receipts to the Author and fifty percent
(50%) to the Publisher;

(¢) Reproduction of the text ar any adaptation of the work, or any
derivative versions thereof, in any audio form provided it is a single
voice, non-dramatic reading of the text and/or visual form provided it
is a non-dramatic, non-illustrative, non-animated display of the text
only (other than by motion picture, radio or television, or in storage
and retrieval systems), including without limitation film strips, pho-
nograph records, telecartridges and tapes: seventy five percent (75%)
of said receipts to the Author and twenty five percent (25%) to the
Publisher; No performance rights are granted in connection with such
rights.

Publisher acknowledges that specifically excluded from the

audiorecording rights granted herein is the right to distribute the
audiorecordings in the mail-order rental market, such rights having :
already been granted by Author to Books on Tape [and with respect to

CANNERY ROW and SWEET THURSDAY to Recorded Bogks> but shall

not be otherwise restricted except that both the Publisher and Books on
Tape and Recorded Books shall have the nonexclusive right to distribute
the audio recordings in the library and specialty markets.

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any audio visual version of the Work.

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Radig and
Te. ion
(f) DELETED

Motion Picture
and Dramatic
(g) DELETED

In the event of the disposition of performance rights, the Publisher
agrees to grant to the purchaser the privilege to publish excerpts and
summaries of the Work or of any motion picture, dramatic, or television
version of the Work, in the aggregate not to exceed ten percent (10%)
of the text (but not more than 7,500 words), for advertising and ex-
ploiting such rights, provided that all steps necessary to protect the
copyright of the Work are taken and that the Publisher is credited as
the publisher of the Work.

Data Storage

and Retrieval .

(h) Use of the text only in non-dramatic, non-illustrative, non-animated
display through computer software and in other information storage and
retrieval systems, whether through computer, mechanical, or other elec-
tronic means now known or hereafter invented and ephemeral screen-
flashing or reproduction thereof, whether by printout, photo-reproduc-
tion or photocopy, including without limitation punch cards, microfilm,
magnetic tapes, or like processes attaining similar results: seventy
five percent (75%) of receipts to the Author and twenty five percent
(25%) to the Publisher;

Elaine Steinbeck shall have prior approval of the script and artwork
and packaging of any versions of the Work for data storage and
retrieval,

 

Commercial Use
(i) DELETED

Use by the
Handicapped
(ij) Publication or transcription of the Work in whole or in part without
charge in braille, tapes, or other forms for use by the physically
handicapped: none.

Edj- +s in

Engiish Abroad .
12, DELETED

Translation
13. DELETED

Rights Reserved
sy Author
14. AN rights not specifically granted to the Publisher under this agree-
ment are reserved by the Author.

Pull ty
o 15. DELETED

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Space
Advertising . .
16. Commercial advertisements (other than a list of other works published

by the Publisher or its licensees) may not be inserted or printed in any edition
of the Work without the Author’s prior written consent.

Accounting and
Payment

17. The Publisher agrees to render semiannual statements of accounts on a
work-by-work basis on the hardcover edition to April 30 and October 3! of each
year, on or before August 31 and February 28 following, and statements of
account on the paperbound edition published by the Publisher shall be rendered
to June 30 and December 31 of each year, on or before October 31 and April 30
following, and the Publisher agrees to accompany such statements with checks in
payment of the amounts due thereon. In making accountings, Publisher shall have
the right to allow for a reasonable reserve against returns to be defined as a
reserve sufficient in light of the actual return percentage in thé sale of the
Work and to be adjusted accordingly in éach ‘accounting period. After two years
following the publication date regular royalty statements and payments need not
be issued by the Publisher until accumulated earnings from all sources, due and
payable, exceed $10.00, unless requested in writing by the Author. Should the
Author receive an overpayment, the Author agrees that the Publisher may deduct

_ such amount from, any further earnings of the Work, it being understood that an
unearned advance is not an “overpayment.”

Works #1 - #18 will be jointly accounted and no sums, other than the yearly
guarantees due pursuant to Clause 7, will be paid to the Author until the total
amount (cumulative from the first payment) paid in guarantees to the Author has
been earned from all sums accruing to the Author hereunder on Works #1 - #18 at
the end of each royalty period,

 

Notwithstanding anything herein to the contrary, Publisher shall provide a
separate semiannual statementand paymenttoAuthor for ARUSSIAN JOURNAL with
the semiannual statements and payments provided with the other Works, which
payment shall be deducted from the guaranteed advance payment provided in
paragraph 7,

 

 

The Author may, upon written request, examine or cause to be examined through
certified public accountants the Publisher’s books of account insofar’ as they
relate to the sale or licensing of the Work, provided such examinations are
limited to one per year and take place during regular business hours. Such .
examination shall be at the Author's expense, unless errors of accounting
r amounting to more than five percent (5%) of the total sums accrued to the Author
shall be found to the Author’s disadvantage, in which case the reasonable cost
of the examination shall be borne by the Publisher, and payment of the amount
due shall be made within thirty (30) days thereafter.

Dption on Other
York
18. DELETED

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Termination of
Preylous Agreements

19. This agreement, when signed by Author and Publisher, will cancel and
supereede the previous agreements, as amended, for the Works #1 - #18 covered
hereunder.

20. Inasmuch as this agreement does not include all the contents of Work

#17 and Work #18, fifty percent of the royalty specified for Work #17, THE SHORT
NOVELS OF JOHN STEINBECK, and twenty five percent of the royalty specified for
Work #18, THE-PORTABLE STEINBECK, will be due the Author hereunder.

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PART TWO

ad “s
Guavantee
1A. The Author represents and warrants that John Steinbeck is the sole

author of the Work; that the Author is the sole owner of all rights granted
hereunder; that the Author has not sold, licensed, assigned, or otherwise
encumbered, and will not sell, license, assign, or otherwise encumber, any of
such rights; that the Author has full power to enter into and to perform this
agreement; that, except for any material expressly permitted or cleared pursuant
to Clause 3 of Part One, the Work is original, and is not in the public domain;
that the Work in no way violates any copyright or proprietary or contract or
personal right of others, and that it contains nothing unlawful, libelous, or
obscene. In the event of any claim, action, or proceeding based upon an alleged
violation of any of these warranties, (a) the Publisher shall have the Tight to
defend the same through counsel of its own choosing; (b) the Author shall hold
harmless the Publisher, any seller of the Work, any licensee of a subsidiary
right in the Work, and any other person to whom the Publisher or its Hcensees
may extend the representations and warranties contained herein in connection
with the production or distribution of the Work or the exercise of any rights
therein or derived therefrom, against any damages and expenses (including rea-
sonable legal fees and expenses) arising from the breach or alleged breach of

k any of the foregoing warranties. If any such claim, action, or proceeding is
instituted, the Publisher shall promptly notify the Author, who shall fully
cooperate in the defense thereof, and the Publisher may withhold payments of
reasonable amounts due the Author under this agreement between the parties.
These warranties and indemnities shall survive the termination of this
agreement. :

Publisher agrees to designate Author as to the Work as an additional insured in
any Errors and Omissions insurance policy which Publisher may purchase at its
expense covering its book publishing activity and shall, except as limited
hereinbelow, look solely to the proceeds of such insurance coverage for payment
of any sums that may become due from Author by reason of the indemnification
undertaken by the Author hereinabove regarding risks which are covered by
Publisher’s Errors and Omissions insurance policy except if the Author’s breach
of warranties set forth hereinabove is done wilfully, Author’s obligation to
indemnify Publisher shall be limited to: thirty-seven thousand, five hundred
dollars ($37,500) which sum is less than one-half (1/2) of the one hundred
thousand dollar ($100,000) deductible presently in effect on the Errors and
Omissions insurance policy. Notwithstanding the foregoing, Author acknowledges
that the limits of liability may effectively be decreased or exhausted as a

~~ result of occurrences during a year related to other works and other additional
insureds and that Author's liability to Publisher in excess of such coverage is
not affected hereby. In consideration for the foregoing, Author agrees that they
will fully cooperate with Publisher in the defense of any such claims, the |
Publisher and/or its insurer shall have the right to select counsel, and that
Publisher shall have the right to'settle any claim upon the terms and conditions
it and/or its insurer deems satisfactory.

 

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Defense of
Crsvright
2A. In case of. any infringement of the copyright of the Work by others, the
Publisher may in its discretion sue or employ such remedies as it deems expe-
dient, and all such suits or proceedings shal! be at the joint expense of Author
and Publisher, and the net proceeds of ‘any recovery shall be divided equally
between them, but the Author shall not be liable for any expenditure for such
Purposes in excess of one thousand dollars’ ($1,000.00) undertaken by the Pub-
lisher without the Author's previous consent in writing. If the Author does not
consent to all expenditures for such purposes, any recovery shall be divided
between the Publisher and the Author in the ratio of their respective expendi-
tures for such purposes.
Competitive
Material
3A. DELETED
Prior
Publication
4A, DELETED
a

4

Deywult by the
Publisher

5A. If the Publisher should: fail to pay undisputed monies due or to deliver
statements as agreed (unless such failure is due to a good-faith dispute between
the Author and the Publisher) within 60 days from the date of written demand by
the Author or his/her representatives, this agreement shall be canceled and all
tights in the Work granted herein shall revert to the Author forthwith and
without further notice, and without prejudice to. monies due to the Author from
the Publisher,

Author's
Property
6A. DELETED

Revised Edition
7A, DELETED

Te” “tation of

this agreement

8A. Should the Publisher fail to keep in print any one of Works #1 through
#18 or any of the other Steinbeck works which are the subject of a separate
agreement with Elaine Steinbeck dated October 24, 1994 and after written demand
from the Author decline or neglect to bring such Work back into print within one
year, the Publisher’s rights shall terminate hereunder as well as terminate for
the other Steinbeck works which are the subject of a separate agreement with
Elaine Steinbeck dated October 24, 1994, provided that all obligations of the
Author to the Publisher have been met. Upon the effective date of termination,
the Publisher shall have the right to dispose of any copies remaining on hand of
the in print Works and any copies in process of the Works covered hereunder as
well as any other in print or in process Steinbeck works which are the subject
of a separate agreement with Elaine Steinbeck dated October 24, 1994 subject to
the payment of royalties as provided hereunder and as provided in the agreement

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with Elaine Steinbeck dated October 24, 1994. It is understood that any Work

co shall be considered to be in print if any hardcover or softcover publication
rights granted hereunder are being exercised or are under contract to be
exercised.

If, at any time after first publication, the Publisher wishes to discontinue
publication for any reason of any Work which is the subject of this agreement or
a separate agreement with Elaine Steinbeck dated October 24, 1994, the Publisher
may do so upon written notice to the Author, in which event this agreement and
the other agreement for the Steinbeck works dated October 24, 1994 with Elaine
Steinbeck shall terminate and al! rights granted hereunder shall revert to the
Author upon the termination date set forth in such notice from the Publisher. If
such termination occurs, the provisions of the immediately following paragraph
of this Clause 8A shall apply.

For thirty (30) days after the date of such termination, the Author shall have
the right, but not the obligation, to acquire From the Publisher (a) any print-
er’s materials under the control of the Publisher, at the fair market value
thereof; and/or (b) any inventory of the work under the control of the Publish-
er, at the manufacturing cost of last printing. If the Author does not exercise
such right within such thirty (30) days, the Publisher may dispose of any such
materials or inventory without any further obligation to the Author.

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Tet.--cnation

Under U.S. Law

9A. If Elaine Steinbeck and/or Thomas Steinbeck exercise their right to

terminate grants made to Publisher in this agreement (in accordance with Section
304(c) ‘of Title 17 of the U.S. Code) and if the _Terminating party(ies) fail(s)
to enter into an agreement with Publisher | for Publisher to continue to publish

the terminated work(s), then Publisher may take the following actions:

 

1. The amount by which the Guaranteed Advance Payments exceed royalties due
and/or paid to all Authors from the date‘of this contract until the date a
Notice of Termination is received by Publisher ("Excess Guaranteed Payments")
shall be calculated on a work-by-work basis (pro-rated in proportion to the
royalties generated by each work during the period). The amount of the Excess
Guaranteed Payment attributable to the terminated work (even if received by
other than the terminating party) shall be, at Publisher’s option, recoverable
by Publisher from any royalties and/or further Guaranteed Advance Payments owed
to the terminating party or parties (as pro-rated) from that date forward, on
account of the terminating party(ies)’s interest in the terminated work (if: any)
during the period between notice of termination and recapture and/or on account
of the terminating party(ies)’s pro-rata interest in any non-terminated works
that are the subject of this agreement.

2, In addition to the right to recapture the excess over earnings on Guaranteed
Advances as provided above, in the event the terminating party(ies) wish to ,
transfer the recaptured rights to a third party, they shall first offer them to
Publisher in the following manner:

(i) If terminating party(ies) decide(s) to accept a bona fide offer with
respect to all or part of the terminated work(s) then in each such instance
terminating party(ies) shall, promptly after deciding to accept such offer, give
Publisher written notice specifying such terms and conditions which terminating
party(ies) is(are) prepared to accept and the name(s) of the third party who
made the offer to terminating party(ies). At any time within fifteen (15) days
after receipt of such written notice from. terminating party(ies), Publisher may
notify terminating party(ies) in writing of its acceptance of such offer and, in
such event, the rights referred to in such offer shall be assigned to Publisher,

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subject to Publisher’s compliance with the terms of the offer so accepted. If
pe Publisher shall acquire from terminating party(ies) all or part of the
‘ terminated work(s), then both parties agree to enter into a written agreement
with respect thereto.

(ii) If Publisher shall elect not to Purchase the terminated work(s), the
terminating party(ies) may dispose of said terminated work(s) but only to the
offerer and upon the terms and conditions specified in such notice, it being
understood and agreed that terminating party(ies) may not dispose of such rights
to any other party or upon terms and conditions any different from those offered
to Publisher hereunder without again offering such terminated work(s) to
Publisher as herein provided.

Bankruptcy and
Liquidation
10A. In the event that the Publisher shall be adjudicated a bankrupt, a
receiver or a trustee shall be appointed for ‘all or substantially all of the
Publisher’s property, and the order appointing the receiver or trustee shall not
have been vacated within sixty (60) days from its entry, or if the Publisher
Shall seek to take advantage of any so-called insolvency law, all rights hereby
granted to the Publisher shall forthwith revert to the Author, and this agree-
— ment shall thereupon terminate.

Joverning Law

11A. This agreement shall be interpreted under the laws of the State of New
York applicable to contracts entirely made and performed therein. Any dispute
between the Author and the Publisher relating to this agreement and/or the Work,
if it cannot be settled by mutual agreement between the Author and the Pub-
lisher, shall be submitted solely to the Federal or State courts sitting in New
York City, or courts with appellate jurisdiction therefrom, and the Author and
the Publisher both consent to the jurisdiction and venue of such courts for such
purpose. ,

Zomplete
dgreement
12A. This agreement constitutes the complete understanding of the parties,
and no waivers or modifications of any provision shall be valid unless in
writing, signed by the Author and the Publisher. The waiver of a breach or of a
default under any provision hereof shall not be deemed a waiver of any subse-
quent breach or default. The payment of any advances or royalties hereunder:
shall not be deemed a waiver by the Publisher of any rights and/or claims that
o~. it may have with ‘respect to nonperformance by the Author of the Author’s obliga-
, tions hereunder.

dssignment .

13A. This agreement shall be binding upon the heirs, executors, or adminis-
trators of the Author, and upon the successors and assigns of the Publisher. The
Author shall not assign this agreement, or obligations hereunder, without the
prior written consent of the Publisher. The Publisher shall have the right on
notice to Author to assign this agreement, or its rights and obligations here-
under, only to a company acquiring all or substantially all of the Publisher’s
assets. The Author shall have the right to assign any amounts due hereunder ta
the extent such amounts become due after the Publisher has received written
notice from the Author of such assignment.

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Agency

Chause

: I4A. All sums of money due under this agreement shall be paid to the
Author's agent, McIntosh & Otis, Inc., 310 Madison Avenue, New York, New York
10017 and the receipt of the said McIntosh & Otis, Inc. shall be a good and
valid discharge of all such indebtedness: and the said McIntosh & Otis, Inc. is
hereby empowered by the Author to act in all matters arising from and pertaining
to this agreement.

The Author does hereby irrevocably assign and transfer to McIntosh & Otis, Inc.
and McIntosh & Otis, Inc. shall retain a sum equal to ten percent (10%) out of
all monies due and payable to and for the account of the Author under this
agreement.

IN WITNESS WHEREOF the parties hereto have hereunto set their hands and seals
the day and year first above written.

 

 

—
IN THE RESENCE OF: ELAINE STEINBECK
Marie {? - Dy / ber
™
~~ THOMAS STEINBECK

> Mine Slacker PO,

Witness Elaine Steinbeck as Attorney-in
fact for Thomas Steinbeck

VIKING PENGUIN

CV a

Witness Barbara Grossnian
Senior Vie President ALAN J. FMAN ‘
Publisfier, Viking Senior Vice President & General Couns :

 

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Exhibit D
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RATIFICATION
AND
ACCEPTANCE ©
OF
AGREEMENT

Thom Steinbeck, a/k/a Thomas Steinbeck, a/k/a Thomas
Myles Steinbeck, individually and as attorney-in-fact for
Nancy Steinbeck, hereby confirms, approves, ratifies and
accepts all terms and conditions of the agreement dated
the 24th day of October 1994, between Elaine Steinbeck
and Thomas Steinbeck as Author and/or Proprietor and
Viking Penguin as Publisher relating to the publication
of the eighteen literary works written by John Steinbeck,
and agrees individually and on behalf of Nancy Steinbeck
as her attorney-in-fact to be fully bound by all of the
terms and provisions thereof.

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om Stdinbeck ate

Nancy Steinbeck

   
  

 
 

Steinbeck sodaa|

Thomas
Attorney-in-fact

 

 
Case 1:04-cv-06795-GBD Document 18-5 Filed 02/18/05 Page 42 of 47

Exhibit E
 
 

wea Case 1:04-cv-06795-GBD Document 18-5 Filed 02/18/05 Page 43 of 47

Power of Attorney

I, Thom Steinbeck, hereby irrevocably appoint
Elaine Steinbeck my attorney-in-fact to act in my place, to
the extent I am permitted by law to act through an agent or
attorney-~in-fact, as Follows: to exercise wy ~:ghts of
renewal and rights to terminate grants to third parties and
make new cantracts and grants and assignments of copyrights,
and to negotiate and sign contracts and agreements and other-
wise take and authorize action on my behalf, directly or
through such agents or attorneys-in-fact as she, in her sole
discretion, may appoint, all solely with respect to the works

of John Steinbeck in which I now have or will have renewal or

termination rights under the U.S. Copyright Law.

 

Thom Steinbeck

Dated:

Cel U toa ae ' aek3

EXHIBIT A
Case 1:04-cv-06795-GBD Document 18-5 Filed 02/18/05 Page 44 of 47

Exhibit F
** Case 1:04:cv- 0679S BRE BeeuMENt 18-5 Filed 02/18/05 “Page'as af4ze o

TO: Karen Meyer, Esq.

NOTICE OF TERMINATION

Viking Penguin, a division of Penguin Books, USA

375 Hudson Street

New York, New York 10014

Estate of Elaine Steinbeck
c/o McIntosh & Otis, Inc.

323 Lexington Ave.

New York, New York 10016

 

Recelved

JUN 24 2004

Karen R. Mayer

PLEASE TAKE NOTICE that pursuant to 17 U.S.C. §304(d), Thomas Steinbeck and
Blake Smite, he-being the sole surviving chitd of deceased author John Steinbeck, and she
being the sole surviving child of deceased John Steinbeck IV, who was the only other child of

deceased author John Steinbeck, terminate grants made to
works described below:

Title

Cup of Gold

The Pastures of Heaven

The-Red Pony and all stories

included therein, namely:

“The Gift”

“The Great Mountains”

“The Promise”

To A God Unknown

Tortilla Flat

In Dubious Battle

Of Mice And Men

Of Mice and Men (Play)

40645393.10

Author

John Steinbeck

John Steinbeck

John Steinbeck

John Steinbeck
John Steinbeck

John Steinbeck

John Steinbeck

John Steinbeck
John Steinbeck

John Steinbeck

John Steinbeck

Date Copyright

Secured

August 2, 1929

Sept. 24, 1937

Oct. 18, 1933
Nov. 16, 1933

July 20, 1937
Sept. 15, 1933

May 28, 1935
Jan. 28, 1936

Feb, 26, 1937

Dec. 10, 1937

Copyright
(Renewal)
Reg. #

A:12065
(R:155442)

A:56747
(R:262343)

A:109632
(R:359892)

B:204366
(R:265334)
B:206800
(R:271364)
B:345443
(R:345803)

A:66672
(R:26781)

A:84009

A:91536
(R:3 19085)

A:102928
(R:342179)

DP:53848
(R:359895)

you before January I, 1978 in the

Effective Date
of Termination

July 1, 2006
Nov. 1, 2007
Sept. 25, 2012

Oct. 19, 2008
Nov. 17, 2008

July 21, 2012
Sept. 16, 2008

May 29, 2010
Jan. 29, 2011

Feb. 27, 2012

Dec, 11, 2012
“=” Case 1:04:¢v-0679856B

Title

The Long Valley and all

stories included therein,
namely:

“Chrysanthemums”
“White Quail”
“Flight”
“Snake”
“Breakfast”
“Raid”
“Hamess™ ">>
“Vigilante”

’ “Johnny Bear’ .
“Murder”
“Saint Kary The Virgin”
“Red Pony” (In 3 parts)
“Leader of the People”

The Grapes of Wrath

the grants described herein under 17 U.
17 U.S.C. §304(c) has not been exercis

All grants of rights made to you or

   
  

John Steinbeck

John Steinbeck
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© persons whose si
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ed as to such grants before.

your predece

Sept. 16, 1938

(A:121979)
(R:359895)

April 14,1939 A:129068

ation of ren

(R:359892)

 

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Sept, 17, 2013

April 15, 2014

8 widow Elaine Steinbeck being deceased, and there
hild of deceased author John Steinbeck, Thomas

Shalures are necessary to terminate
ewal term rights under

SSOFs in interest in the above described

works before January 1, 1978, including but not limited to any and all grants of book

publication rights, motion picture rights, television rights,
rights, radio broadcast tights, mechanical reproduction ri
Said works, as wel] as all amendments,
this notice. Such grants include, but
September 12, 1938 between John §
dated May 19, 1949 between John S
agreements entered into between John Steinbeck and Vj
interest, successors in interest, or assj
revisions, or renewals of or to said a

Dated: Ve sss, 2004

40645393.10

Tevisions, or renewals of such
are not limited to 1) that certain
teinbeck and Viking
teinbeck and Viking

gnors before January 1, 19
greements.

ghts, or other

dramatic rights, theatrical Stage
rights of any nature in
rants, are terminated by
contract dated

Press, Inc.; 2) that certain agreement
Press, Inc.; and 3) all other

king Press,

Inc., or its predecessors in

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78, as well as all amendments,

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Case 1:04-cv-06 798: B

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fatacte Cw,
Blake Smylie \S)

  

by Thomas Steinbeck
her Attorney-In-Fact

  
